                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:04cr39-V


UNITED STATES OF AMERICA                )
                                        )
                                        )
             vs.                        )                   ORDER
                                        )
                                        )
JERMAINE LINDSAY - 9                    )
                                        )



      THIS MATTER is before the Court upon Defendant’s motion for a continuance of

the sentencing hearing scheduled for 15 August 2005 in the Charlotte Division.

      Upon consideration of the Defendant’s motion, the Court finds no good cause has

been shown to continue this sentencing. IT IS, THEREFORE, ORDERED that Defendant's

motion to continue is hereby DENIED.




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                     Signed: August 12, 2005




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